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                            UNITED STATES DISTRICT COURT
    7
                           CENTRAL DISTRICT OF CALIFORNIA
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    9    THRIVE NATURAL CARE, INC.,            Case No. 2:21-CV-2022-DOC-KES
   10                  Plaintiff,              [PROPOSED] ORDER GRANTING
                                               PLAINTIFF’S APPLICATION TO
   11          v.                              FILE DOCUMENT UNDER SEAL
   12    LE-VEL BRANDS, LLC,
   13                   Defendant.
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                                                     [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                            APPLICATION TO FILE UNDER SEAL
                                                                  Case No2:21-cv-2022-DOC-KES
Case 2:21-cv-02022-DOC-KES Document 28-2 Filed 03/29/21 Page 2 of 2 Page ID #:1758




    1                                        ORDER
    2         This Court has read and considered Plaintiff Thrive Natural Care, Inc.’s
    3   (“Thrive”) Application for Leave to File Under Seal Thrive’s Unredacted Reply in
    4   Support of Motion for Preliminary Injunction. Exhibit 1 to the Declaration of
    5   Stephen McArthur filed herewith is Thrive’s Unredacted Reply in Support of
    6   Motion for Preliminary Injunction which contains information designated
    7   “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY” by Defendant Le-Vel
    8   Brands, LLC. Good cause and a compelling need to file this document under seal
    9   has been shown, based on the confidential and sensitive nature of the document.
   10         IT IS HEREBY ORDERED that Thrive’s Application to File Document
   11   Under Seal is GRANTED. Thrive shall promptly file Exhibit 1 under seal in
   12   accordance with Local Rule 79-5.2.2(c).
   13         IT IS SO ORDERED.
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        DATED:_____________                   ___________________________________
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                                              Hon. David O. Carter
   16                                         Judge, United States District Court
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                                                          [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                                 APPLICATION TO FILE UNDER SEAL
                                                  -1-                 Case No. 2:21-cv-2022-DOC-KES
